Entered: June 14th, 2018
                             Case 18-17927         Doc 13      Filed 06/14/18       Page 1 of 1
Signed: June 14th, 2018

SO ORDERED




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                                At
                                            BALTIMORE
                                  In re:    Case No.: 18-17927 NVA              Chapter: 11

        WW CONTRACTORS, INC.
        Debtor

               ORDER TRANSFERRING VENUE TO THE UNITED STATES BANKRUPTCY
              COURT FOR THE EASTERN DISTRICT OF VIRGINIA- ALEXANDRIA DIVISION


                   Upon a review of the pleadings in the above−captioned case, and having conducted a hearing on
            June 13, 2018 at which counsel for WW Contractors, Inc., the debtor herein, and the United States
            Trustee were present, and for the reasons stated on the record at that hearing, and in the interest of
            justice in accordance with 28 U.S.C. § 1412 and Federal Bankruptcy Rule 1014, it is, sua sponte, by
            the Court:

                  ORDERED that this case is hereby transferred to the United States Bankruptcy Court for the
            Eastern District of Virginia, Alexandria Division, effective as of the date hereof; and it is further

                  ORDERED that the Clerk of the United States Bankruptcy Court for the District of Maryland is
            authorized and directed to take all actions necessary to effectuate the transfer of this case to the United
            States Bankruptcy Court for the Eastern District of Virginia, Alexandria Division.



  cc:    Debtor(s)
         Attorney(s) for Debtor(s) – Jeffrey Sirody, Esquire
         U.S. Trustee

                                                       End of Order
